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                                        No. 15-628C
                                (Filed: September 18, 2015)

                                 NOT FOR PUBLICATION
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                                               )
ANTHONY L. SCHILLER,                           )                                SEP 1 8 2015
                                               )                               U.S. COURT OF
                         Plaintiff,            )                              FEDERAL CLAIMS
                                               )      RCFC 15(a)(2)
               v.                              )
                                               )
UNITED STATES OF AMERICA,                      )
                                               )
     Defendant.                                )
~~~~~~~~~~ )


                                          ORDER

      Before the court is prose plaintiff Anthony Schiller's motion for leave to amend
the complaint (plaintiffs motion), ECF No. 10, filed September 17, 2015. Plaintiff
provides the following grounds for his motion:

          (1) that he is a laymen of the [federal] laws ... [,] (2) his claims/cause is
          factual and must be addressed as a public importance, and [are] major
          injustices that are not moot[,] [and] (3) plaintiff doesn't/didn't have a
          proper claims form and respectfully seeks/requests such a form/format
          structure to "proceed properly."

Id. (capitalization omitted).

       Rule 15(a)(l) of the Rules of the United States Court of Federal Claims (RCFC)
provides that "[a] party may amend its pleadings once as a matter of course within: (A)
21 days after service of the pleading; or (B) ... 21 days after service of a motion under
RCFC 12(b)." Plaintiffs motion was filed 91 days after the filing of his complaint and
31 days after the filing of defendant's Rule 12(b)(l) motion to dismiss. See Compl., ECF
No. 1, June 18, 2015; Def.'s Mot. to Dismiss, ECF No. 8, Aug. 17, 2015. Thus, plaintiff
may not avail himself of Rule 15(a)(l).

      Rule 15(a)(2) provides that "[i]n all other cases, a party may amend its pleading
only with the opposing party's written consent or the court's leave. The court should
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freely give leave when justice so requires." "It is well established that the grant or denial
of an opportunity to amend pleadings is within the discretion of the trial court." Mitsui
Foods, Inc. v. United States, 867 F.2d 1401, 1403 (Fed. Cir. 1989). The court should
liberally exercise its discretion to grant leave to amend. Id. at 1403-04.

        First, as to plaintiffs grounds that he is a "laymen of the [federal] laws," the court
advises that prose plaintiffs are entitled to liberal construction of their pleadings. See
Haines v. Kerner, 404 U.S. 519, 520 (1972) (per curiam) (stating that prose plaintiffs are
generally held to "less stringent standards than formal pleadings drafted by lawyers");
Vaizburd v. United States, 384 F.3d 1278, 1285 n.8 (Fed. Cir. 2004) (noting that
pleadings drafted by pro se parties "should ... not be held to the same standard as
[pleadings drafted by] parties represented by counsel"). That being said, pro se plaintiffs
must nevertheless meet jurisdictional requirements. Bernard v. United States, 59 Fed. Cl.
497, 499, aff d, 98 F. App'x 860 (Fed. Cir. 2004) (per curiam); see also Kelley v. Dep't
of Labor, 812 F.2d 1378, 1380 (Fed. Cir. 1987) ("[A] court may not similarly take a
liberal view of [a] jurisdictional requirement and set a different rule for prose litigants
only.").

        Second, as to plaintiffs grounds that he did not "have a proper claims form," the
court does not have such a "claims form." Instead, the court directs plaintiffs attention
to the court's webpage, which provides relevant information for prose litigants:
http://www.uscfc.uscourts.gov/pro-se-information.

       The court now turns to plaintiffs grounds that his claims are "factual and must be
addressed as a public importance," and that they constitute "major injustices that are not
moot." It is unclear to the court what new claims or facts plaintiff seeks to add to his
complaint. The court nevertheless permits plaintiff the opportunity to amend his
complaint. As such, plaintiffs motion is GRANTED. Plaintiff may file an amended
complaint on or before October 2, 2015. Per RCFC 15(a)(3), defendant shall have "14
days after service of the amended pleading" to respond.

       IT IS SO ORDERED.


                                                                                           .ti,
                                            Chief Judge
